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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WISCONSIN

 BRANDON BRADLEY,

           Petitioner,                                                   ORDER
    v.
                                                                   Case No. 21-cv-49-jdp
 LARRY FUCHS,

           Respondent.


         Petitioner Brandon Bradley has submitted a certified inmate trust fund account

statement for the six-month period preceding the filing of a habeas petition. Accordingly, the

court must determine whether petitioner qualifies for indigent status.

         Having considered petitioner’s affidavit of indigency and the inmate trust fund account

statement, I find that petitioner is unable to prepay the fees of commencing this action or to

post security therefor. Accordingly, petitioner’s request for leave to proceed in forma pauperis is

granted.

                                             ORDER

                 IT IS ORDERED that petitioner Brandon Bradley’s motion for leave to proceed

without prepayment of the filing fee is GRANTED.

                         Entered this 22nd day of January, 2020.

                                      BY THE COURT:


                                      /s/
                                      PETER OPPENEER
                                      Magistrate Judge
